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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

MUMINA ALI,

               Plaintiff,

       vs.                                                    Civil No. 20-00255-NT

CITY OF PORTLAND, JEFFREY DRUAN, SUNA
SHAW and MICHAEL SAUSCHUCK,

               Defendants



ANSWER, AFFIRMATIVE DEFENSES AND JURY TRIAL DEMAND (DEFENDANTS
    CITY OF PORTLAND, JEFFREY DRUAN, SUNA SHAW AND MICHAEL
                           SAUSCHUCK)

       Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck

(collectively “the Defendants”), by and through counsel, hereby respond to the Plaintiff’s

Complaint as follows:

                                   STATEMENT OF CLAIMS

       1.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       2.      The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       3.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.
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                                              JURISDICTION

       4.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       5.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       6.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

                                                   VENUE

       7.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

                                                  PARTIES

       8.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       9.      The Defendants admit the City of Portland is a Maine municipality. The

remaining allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without


                               Answer, Affirmative Defenses and Jury Trial Demand
                  (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       10.     The Defendants admit Jeffrey Druan is a police officer employed by the City of

Portland. The remaining allegations contained in this paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       11.     The Defendants admit Suna Shaw is a community policing coordinator employed

by the City of Portland. The remaining allegations contained in this paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the truth of

the remaining allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

deny same.

       12.     The Defendants admit Michael Sauschuck used to be employed by the City of

Portland as Chief of Police. The remaining allegations contained in this paragraph of the

Plaintiff’s Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a belief as

to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, deny same.

                                       GENERAL ALLEGATIONS

       13.     The Defendants repeat and reassert their responses to the preceding paragraphs

of the Plaintiff’s Complaint.

       14.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.


                               Answer, Affirmative Defenses and Jury Trial Demand
                  (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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       15.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       16.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       17.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to the Portland Police Department. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       18.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       19.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       20.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       21.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       22.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       23.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to the Portland Police Department. The Defendants are without sufficient




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information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       24.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       25.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       26.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       27.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       28.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       29.     The Defendants admit that a citizens review committee exists to review internal

affairs investigations of Portland Police Department officers. The Defendants deny the

remaining allegations contained in this paragraph of the Plaintiff’s Complaint.

       30.     The Defendants admit that community policing centers are located in the City of

Portland and that the centers are typically staffed by police and a community coordinator. The

Defendants deny the remaining allegations contained in this paragraph of the Plaintiff’s

Complaint.

       31.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       32.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.


                               Answer, Affirmative Defenses and Jury Trial Demand
                  (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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       33.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       34.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       35.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       36.     The Defendants deny the allegations contained in the first sentence of this

paragraph of the Plaintiff’s Complaint. The Defendants admit that on July 23, 2014 Defendant

Druan took one of the Plaintiff’s daughters to Maine Medical Center after the daughter

threatened to harm herself. The Defendants are without sufficient information or knowledge to

form a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Complaint and, accordingly, deny same.

       37.     The Defendants admit that no social worker was present. The Defendants deny

the allegations contained in this paragraph of the Plaintiff’s Complaint pertaining to Defendant

Druan. The Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       38.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       39.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.


                               Answer, Affirmative Defenses and Jury Trial Demand
                  (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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       40.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       41.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to Defendants Druan and Shaw. The remaining allegations contained in

this paragraph of the Plaintiff’s Complaint constitute assertions of law to which no response is

required. Alternatively, the Defendants are without sufficient information or knowledge to form

a belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       42.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       43.     The Defendants admit that the Plaintiff was taken by wheelchair into the MMC

emergency room. The Defendants deny the allegations contained in this paragraph of the

Plaintiff’s Complaint pertaining to Defendant Druan. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       44.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       45.     The Defendants deny the allegations contained in the first sentence of this

paragraph of the Plaintiff’s Complaint. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       46.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.




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                  (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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       47.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to Defendant Druan. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       48.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to the use of force. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       49.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       50.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       51.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       52.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       53.     The Defendants admit that at some point in the past a notice of trespass was

served on the Plaintiff with regard to the Community Policing office at 44 Mayo Street. The

remaining allegations purport to characterize the content of a document that speaks for itself or

the legal effect of such a document; therefore, no response is required. To the extent a response

is required, the Defendants are without sufficient information or knowledge to form a belief as




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to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, deny same.

       54.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint to the extent the allegations pertain to them. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       55.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       56.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       57.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in the first sentence of this paragraph of Plaintiff’s

Complaint and, accordingly, deny same. The Defendants deny the remaining allegations

contained in this paragraph of the Plaintiff’s Complaint.

       58.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       59.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       60.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.


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                   (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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       61.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       62.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       63.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       64.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       65.     The Defendants deny the allegations contained in the first sentence of this

paragraph of the Plaintiff’s Complaint. The remaining allegations purport to characterize the

content of a document that speaks for itself or the legal effect of such a document; therefore, no

response is required. To the extent a response is required, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       66.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       67.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       68.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

                                                  COUNT I


                               Answer, Affirmative Defenses and Jury Trial Demand
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             42 U.S.C. § 1983 (Fourth Amendment – Excessive Force, False Arrest)
                                 Defendants Druan and Shaw

       69.     The Defendants repeat and reassert their responses to the preceding paragraphs

of the Plaintiff’s Complaint.

       70.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       71.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       72.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       73.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       74.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       75.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.




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       76.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       77.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiff’s Complaint and, therefore, deny the allegations.

       78.     The Defendants deny the premise of the allegations contained in this paragraph

of the Plaintiff’s Complaint and, therefore, deny the allegations.

       79.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       80.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint pertaining to Defendants Druan and Shaw. The remaining allegations contained in

this paragraph of the Plaintiff’s Complaint constitute assertions of law to which no response is

required. Alternatively, the Defendants are without sufficient information or knowledge to form

a belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

                                            COUNT II
         42 U.S.C. § 1983 (Monell) City of Portland, Michael Sauschuck, and Suna Shaw

       81.     The Defendants repeat and reassert their responses to the preceding paragraphs

of the Plaintiff’s Complaint.

       82.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       83.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without




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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       84.     The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       85.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       86.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       87.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       88.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       89.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       90.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       91.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       92.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       93.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.




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        94.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

        95.     The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

                                          JURY TRIAL DEMAND

        96.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

                                     AFFIRMATIVE DEFENSES

        1.      The Defendants have at all times acted in good faith and without knowledge that

their conduct violated any clearly established constitutional or statutory rights of the Plaintiff.

        2.      The Defendants’ conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiff.

        3.      No reasonable person would have known that the Defendants’ conduct violated

any clearly established constitutional or statutory rights of the Plaintiff.

        4.      The Defendants reserve the right to demonstrate that the Plaintiff’s Complaint, in

whole or in part, is barred by the applicable statutes of limitations.

        5.      To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

        6.      The Plaintiff’s own conduct was the sole or a contributing cause of any injuries

she may have sustained.

        7.      The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.




                                Answer, Affirmative Defenses and Jury Trial Demand
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       8.      The Plaintiff’s claims are barred for the reason that the Defendants are not liable

under a theory of respondeat superior for the actions of their agents.

       9.      The Plaintiff’s claims are barred for the reason that the Defendants’ actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       10.     The Plaintiff’s claims are barred for the reason that the conduct complained of is

not the type contemplated under 42 U.S.C. § 1983.

       11.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of immunity.

       12.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       13.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of privilege.

       14.     To the extent that the Plaintiff seeks injunctive or declaratory relief, the Plaintiff

has no standing.

       15.     The Plaintiff has adequate remedies under State law, and therefore no action lies

under 42 U.S.C. §1983.

       16.     The Defendants reserve the right to demonstrate that the Plaintiff has failed to

mitigate damages.

       17.     To the extent the Plaintiff’s alleged injuries result from conditions that pre-

existed the events alleged in the Complaint, the Defendants cannot be held liable for the alleged

damages associated with those alleged injuries.

       18.     To the extent the Plaintiff’s alleged injuries result from events or conditions that

occurred after the Defendants’ involvement with the Plaintiff, the Defendants cannot be held

liable for the alleged damages associated with those alleged injuries.

       19.     To the extent the Plaintiff’s alleged injuries result from intervening or

superseding causes – including, but not limited to, the actions of third parties – the Defendants

cannot be held liable for the alleged damages associated with those alleged injuries.


                                Answer, Affirmative Defenses and Jury Trial Demand
                   (Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael Sauschuck)
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                                             JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendants

request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants City of Portland, Jeffrey Druan, Suna Shaw and Michael

Sauschuck demand judgment in their favor with regard to all claims of the Plaintiff’s Complaint,

including an award of costs and attorneys’ fees, if appropriate, and such other relief as the Court

deems just.

       Dated at Portland, Maine this 21st day of September, 2020.

                                           Attorneys for Defendants City of Portland, Jeffrey Druan,
                                           Suna Shaw and Michael Sauschuck
                                           MONAGHAN LEAHY, LLP
                                           95 Exchange Street, P.O. Box 7046
                                           Portland, ME 04112-7046
                                           (207) 774-3906
                                  BY:      /s/ John J. Wall, III
                                           John J. Wall, III




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2020, I electronically filed Answer, Affirmative
Defenses and Jury Trial Demand (Defendants City of Portland, Jeffrey Druan,
Suna Shaw and Michael Sauschuck) using the CM/ECF system, which will provide notice
to me and the other counsel of record.

       Dated at Portland, Maine this 21st day of September, 2020.

                                         Attorneys for Defendants City of Portland, Jeffrey Druan,
                                         Suna Shaw and Michael Sauschuck
                                         MONAGHAN LEAHY, LLP
                                         95 Exchange Street, P.O. Box 7046
                                         Portland, ME 04112-7046
                                         (207) 774-3906
                                BY:      /s/ John J. Wall, III
                                         John J. Wall, III




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